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 7   Attorneys for Defendants
     MATCO TOOLS CORPORATION,
 8   NMTC, INC., and FORTIVE CORPORATION

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10
                                    UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12

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     JOHN FLEMING, on behalf of himself and all        Case No. 3:19-cv-00463-WHO
14   others similarly situated,,
                                                        STATEMENT OF NON-OPPOSITION TO
15                    Plaintiff,                        PLAINTIFF’S MOTION FOR
                                                        SETTLEMENT APPROVAL
16         v.
                                                       Date:     April 27, 2022
17   MATCO TOOLS CORPORATION, a Delaware               Time:     2:00 P.M.
     corporation; NMTC, INC. d/b/a MATCO TOOLS,        Dept:     Courtroom 2, 17th Floor
18   a Delaware corporation, FORTIVE
     CORPORATION, a Delaware corporation; and          Judge:    Hon. William Orrick
19   DOES 1-20, inclusive,,
                                                       Complaint Filed: January 25, 2019
20                    Defendants.                      Trial Date:      April 18, 2022

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                                         STATEMENT OF NON-OPPOSITION; CASE NO.: 3:19-CV-00463-WHO
               Case 3:19-cv-00463-WHO Document 109 Filed 04/21/22 Page 2 of 2



 1            Defendants MATCO TOOLS CORPORATION, NMTC, INC., and FORTIVE CORPORATION

 2   (“Defendants”) do not oppose Plaintiff’s Motion for Settlement Approval.

 3
     DATED: April 21. 2022                                Respectfully submitted,
 4
                                                          SEYFARTH SHAW LLP
 5

 6
                                                          By:     /s/ Eric M. Lloyd
 7                                                              Christian J. Rowley
                                                                Eric M. Lloyd
 8                                                              Jonathan D. Martin
                                                                Attorneys for Defendants
 9                                                              MATCO TOOLS CORPORATION, NMTC,
                                                                INC. and FORTIVE CORPORATION
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                                           STATEMENT OF NON-OPPOSITION; CASE NO.: 3:19-CV-00463-WHO
